                      Case 3:22-cr-00099-MO                Document 1        Filed 02/18/22         Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                       District
                                                 __________     of Oregon
                                                            District of __________

                  United States of America                          )
                             v.                                     )
                     Tyler Ray Harnden
                                                                    )       Case No. 3:22-mj-00027
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)
                            CRIMINAL COMPLAINT
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         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  February 17, 2022              in the county of                Marion              in the
                       District of            Oregon            , the defendant(s) violated:

            Code Section                                                      Offense Description
  18 U.S.C. § 922(g)(1)                         Possession of a Firearm(s) and Ammunition by a Convicted Felon




         This criminal complaint is based on these facts:
See Affidavit of Graham Bogumill ATF Special Agent attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u

                                                                                                   /s/ by phone          JVA
                                                                                               Complainant’s signature

                                                                                    Special Agent Graham Bogumill- ATF
                                                                                                Printed name and title

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WHOHSKRQHDWBBBBBBBBDPSP
             5:08 p.m.

Date:             02/18/2022                                                                                          JVA
                                                                                                  Judge’s signature

City and state:                         Portland, Oregon                         Hon. John V. Acosta, U.S. Magistrate Judge
                                                                                                Printed name and title
